                              UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
        v.                                        )             NO. 3:11-00020
                                                  )             CHIEF JUDGE HAYNES
                                                  )
AUSTIN MICHAEL EVANS                              )


             GOVERNMENT’S POSITION WITH RESPECT TO SENTENCING

        COMES NOW the United States of America, by and through the undersigned Assistant United

States Attorney, and respectfully submits to the Court that the government has no objections to the

calculated advisory guideline range contained in the revised Presentence Investigation Report prepared by

the United States Probation Office.

                                                         Respectfully submitted,

                                                         DAVID RIVERA
                                                         Acting United States Attorney
                                                         Middle District of Tennessee

                                                           s/ Philip H. Wehby
                                                      BY: ____________________________
                                                           PHILIP H. WEHBY
                                                          Assistant U. S. Attorney
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                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been forwarded, via
the Court’s electronic case filing system, to Peter J. Strianse, Attorney for Defendant, on the 22nd day of
July, 2013.

                                                          s/ Philip H. Wehby
                                                          _____________________________
                                                          PHILIP H. WEHBY
                                                          Assistant U. S. Attorney




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